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                                    STATEMENT OF FACTS

        Your affiant,                 has been a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) since May 2009, and I am currently assigned to                       . As a SA,
I have worked Healthcare Fraud, Human Trafficking, Other Government Fraud, White Collar
Fraud, been a member of the Special Operations Ground Surveillance Team, and worked
International Terrorism and Domestic Terrorism on the Joint Terrorism Task Force (JTTF). As a
SA with the FBI, I am authorized by law or by a government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        Since 2017, your affiant has been on the JTTF. As a SA for the FBI on the JTTF my duties
include the investigation of matters in the Domestic Terrorism Program, including the
identification, prevention and defeat of domestic terrorist operations before they occur. In the event
of an act of terrorism, I can execute the FBI’s statutory investigative responsibilities and fulfill its
role as the Lead Federal Agency for crisis response, functioning as the on-scene manager for the
United States Government. Currently, I am responsible for investigating criminal activity in and
around the U.S. Capitol on January 6, 2021. In these investigations, I conduct data base checks
and online searches, prepare affidavits for search and arrest warrants, analyze information received
from subpoenas, interview subjects and witnesses, conduct physical surveillance, and review
information from social media platforms.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows


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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        The U.S. Capitol Building is equipped with closed circuit video recording camera
(hereinafter “CCTV”) at numerous locations in the Capitol Building. These CCTV cameras
recorded a significant amount of the activity that day. In addition, during national news coverage
of the aforementioned events, video footage which appeared to be captured on mobile devices of
persons present on the scene depicted evidence of violations of local and federal law, including
scores of individuals inside the U.S. Capitol building without authority to be there. Photographs
and videos of several of these persons were disseminated via social media and other open-source
online platforms.

        While your affiant was investigating a related January 6 Capitol Riot case involving Jared
Luther Owens and Jason William Wallis, separately charged in Criminal Case No. 23-cr-388-
RDM, a search was conducted of an Apple MacBook computer found during a search of Owens’
residence. This resulted in the recovery of a photograph of Owens, Wallis, and a third individual,
later identified as Andrew Joseph Shea (hereinafter “SHEA”). Image 1. The photograph was sent
during a messaging conversation between Owens and his wife and appears to have been taken
from inside the back seat of a passenger vehicle. In the photograph Owens is on the left, Wallis is
in the middle, and SHEA is on the right. The messaging application identified the photograph as
having been received on January 6, 2021 at 8:55 a.m. In addition, a message which Owens sent
after the photograph said, “This is how we are living. Lol. Every Uber in and out is a freaking go
cart.” From my earlier investigation of Wallis and Owens I am aware that on January 6. 2021, they
were together at the U.S. Capitol both outside on the grounds and inside the building.




  Image 1 – Photograph of Owens, Wallis and SHEA seized from a laptop at Owens’ residence




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       In addition, the MacBook contained a subsequent message from Owens to his wife on
January 7, 2021, where he stated, "me Jason and Andrew fought thru that shit as a three man
wrecking crew. God put these men in my life for a reason. I am so proud of my boys." Based on
the context, I believe “Jason” refers to Jason Wallis and “Andrew” refers to Andrew SHEA, and
that Owens was reporting the events of the day prior, January 6, 2021.

       Additional investigation, detailed in part below, revealed that in advance of January 6
Wallis and Owens traveled to Washington D.C. from Missouri, and they are believed to have
stopped and picked up SHEA in Illinois on the way.

        Telephone records from Wallis’ phone place him in the area of Madison, Illinois, northeast
of his residence in Missouri and just south of Granite City, Illinois, where SHEA resides, at
approximately 8:11 p.m. on January 4, 2021. Wallis’ phone then appears to be in the area of I-270
and I-255 (which is near the Illinois/Missouri border near St. Louis, Missouri) at approximately
8:31-8:36 p.m. on January 4, 2021. The phone then appears to continue traveling on I-70 east
toward Washington, D.C.

        FBI obtained information from the Cherry Hill Park campground located in College Park,
Maryland. The information provided revealed that Wallis, driving a GMC Sierra pickup truck
registered in his name and to his address in Hillsboro, Missouri, stayed there in a pulled camper
with three adults registered to stay from January 5 to January 8, 2021. Cherry Hill Park is located
approximately 16 miles from the United States Capitol.

       A Google search warrant for records of devices found within the United States Capitol
building, between 2:00 p.m. and 6:30 p.m. EST on January 6, 2021, revealed that the user of the
email address, andrewshea[XXX]@gmail.com, was present within the area. The recovery phone
number for that Gmail account was later confirmed by the Granite City Police Department as
belonging to SHEA.

       A request for driver’s license information for SHEA showed an individual who I have
determined matches the above photo found in the MacBook at Image 1. Driver’s License
information for SHEA lists a current address on Johnson Road in Granite City, Illinois.

        Your affiant reviewed open source video from the Capitol grounds on January 6, 2021, as
well as closed circuit television cameras (CCTV) located within the United States Capitol and was
able to locate SHEA on multiple videos inside of the restricted area of the Capitol grounds and
within the Capitol building on January 6, 2021, as he walked with Wallis and Owens. Below are
screen shots from some of the videos which document his illegal activities that day. In many of
those images he is wearing an identical looking beanie cap to the one in Image 1.

        Open source video filmed outside the United States Capitol on January 6, 2021, showed
SHEA, walking with Owens and Wallis as they moved forward in a group of rioters who were
trying to get past retreating Capitol Police officers. Image 2 shows SHEA, circled in yellow,
walking near Wallis, circled in red, and Owens, circled in green, as they advance up the North side
of the Capitol grounds within the restricted area of the Capitol as officers retreated. In this image



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and others, Wallis is wearing a tactical helmet and gas mask and Owens is wearing a black helmet
and goggles.




       Image 2 - https://www.youtube.com/watch?v=f80ScBHnNRk&t=793s at 17:35

       The officers retreated to a line of bike rack barricades where Wallis, Owens and SHEA
gathered with other rioters as they attempted to get past the barricades. At one point Wallis and
Owens picked up and shoved one of the metal bike racks at officersDuring interviews of officers
present at the bike rack it was determined that at least one of the officers was injured as a result.
SHEA was immediately behind them. Image 3 shows SHEA (yellow), Owens (green) and Wallis
(red).




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 Image 3 - https://www.youtube.com/watch?v=f80ScBHnNRk&t=793s at 18:21 showing SHEA
            (circled in yellow), Wallis (circled in red) and Owens (circled in green)

        After getting around the officers at the bike rack barricades, they moved to the edge of the
east side of the Capitol building where a video still image, Image 4, captured all three of them.




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  Image 4 - https://www.youtube.com/watch?v=95hp2RrYl-A&t=242s at 4:03 showing SHEA
            (circled in yellow), Wallis (circled in red) and Owens (circled in green)




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        They then attempted to enter the building, ultimately making their way to the Northwest
side of the building and entering the Capitol building through the Senate Fire Door. Image 5 is a
CCTV image inside of the Senate Fire Door that captured their entry into the building.




Image 5- USCP CCTV showing SHEA (circled in yellow), Wallis (circled in red) and Owens
(circled in green) entering the Senate Fire Door.

       44.     The three remained in the Capitol building traveling through the first floor on the
Senate side of the building, until SHEA and Wallis were captured on CCTV exiting the Capitol
building through a door on the North side of the U.S. Capitol approximately 21 minutes after
entering the building. Image 6. Owens exited separately.




Image 6- USCP CCTV showing SHEA (circled in yellow) and Wallis (circled in red) as they are
                            leaving the Capitol building


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        Based on the foregoing, your affiant submits that there is probable cause to believe that
SHEA violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting.

        Your affiant submits there is also probable cause to believe that SHEA violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the U.S. Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _                               ________

                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 30th day of October 2024.
                                                 Moxila A.                Digitally signed by
                                                                          Moxila A. Upadhyaya

                                                 Upadhyaya                Date: 2024.10.30
                                                     ___________________________________
                                                                          15:49:52 -04'00'
                                                     HON. MOXILA A. UPADHYAYA
                                                     U.S. MAGISTRATE JUDGE




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